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     Counsel for Defendant, DOUGLAS STORMS YORK
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9
                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN JOSE DIVISION
11

12   UNITED STATES OF AMERICA,                  )       No. 15-00226 BLF
                                                )
13
                            Plaintiff,          )       DEFENDANT DOUGLAS STORMS
                                                )       YORK’S PROPOSED VERDICT FORM
14
            v.                                  )
15
                                                )       Pretrial Conference: July 16, 2015
                                                )       Time: 2:00 p.m.
16   DOUGLAS STORMS YORK,                       )
                                                )       Trial Date: July 20, 2015
17                          Defendant.          )
                                                )       Honorable Beth Labson Freeman
18

19          Defendant Douglas Storms York submits the proposed verdict form attached as

20   Exhibit A.
21   Dated: July 9, 2015
22                                         Respectfully submitted,
23                                         STEVEN G. KALAR
                                           Federal Public Defender
24

25
                                           /s/ Graham Archer
26
                                           GRAHAM ARCHER
                                           Assistant Federal Public Defender

      Def.’s Proposed Verdict Form
      CR 15-00226 BLF
                                                    1
     Case5:15-cr-00226-EJD Document28 Filed07/09/15 Page2 of 4



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             EXHIBIT A
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                  Case5:15-cr-00226-EJD Document28 Filed07/09/15 Page3 of 4



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6                           IN THE UNITED STATES DISTRICT COURT

7                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION
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11   UNITED STATES OF AMERICA,                    )       No. CR 15-00226 BLF
                                                  )
12                         Plaintiff,             )       VERDICT
                                                  )
13           v.                                   )
                                                  )
14   DOUGLAS STORMS YORK,                         )
                                                  )
15                         Defendant.             )
                                                  )
16

17
     1) Did the government prove beyond a reasonable doubt that Mr. York falsely pretended to
18
     be an employee acting under the authority of the United States Internal Revenue Service?
19
                    _______ NO
20
                    _______ YES (proceed to question two)
21

22
     2) Did the government prove beyond a reasonable doubt that Mr. York acted in such a
23
     manner as an employee of the United States Internal Revenue Service?
24

25
                    _______ NO

26                  _______ YES (proceed to question three)




                                                      3
                   Case5:15-cr-00226-EJD Document28 Filed07/09/15 Page4 of 4



1
     3) Did the government prove beyond a reasonable doubt that Mr. York acted with the intent
2
     to defraud?
3
     _______ NO
4
     _______ YES
5

6

7
     If you answered “No” to questions one, two or three, you must find Mr. York Not Guilty of
8

9
     the offense as charged.

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12   Therefore, we the jury in the above-captioned case, unanimously find the Defendant, Douglas
     Storms York:
13

14

15   _________________________, (Not Guilty or Guilty) of False Impersonation of a Federal
16   Employee, in violation of 18 U.S.C. § 912.
17

18
     Dated: ___________, 2015                          ________________________
19                                                     JURY FOREPERSON

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